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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-00272 (TJK)
       v.                                     :
                                              :
JORDAN KENNETH STOTTS,                        :
                                              :
                Defendant.                    :

                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully submits this sentencing memorandum in

connection with the above-captioned matter. For the reasons set forth herein, the government

requests that this Court sentence Jordan Stotts to 45 days of incarceration and $500 in restitution.

I.     Introduction

       The defendant, Jordan Kenneth Stotts, a resident of Moorhead, Minnesota, drove from

Arizona to Washington, D.C. to participate in the January 6, 2021 attack on the United States

Capitol. That attack disrupted the Congressional certification of the 2020 Electoral College vote

count for hours, threatened the peaceful transfer of power after the 2020 Presidential election,

injured more than one hundred law enforcement officers, and resulted in more than a million

dollars of property damage.

       Stotts pleaded guilty to one count of violating 40 U.S.C. § 5104(e)(2)(G), Parading,

Demonstrating, or Picketing in a Capitol Building. As explained herein, a sentence of 45 days of

incarceration is appropriate in this case because: (1) the defendant stood face-to-face with and

shouted at Metropolitan Police Department officers while they were pushing back rioters,

including the defendant at least three times, out of the Capitol Rotunda; (2) he scaled the wall on

the Upper West Terrace to gain access to the Capitol, and once inside he raised his fist in support

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of those who breached the Capitol Building; (3) his post-riot statements on Facebook, in which he

boasted about the “siege,” claimed the fight was “far from over,” and exclaimed, “I’ll be back,”

reveal a total lack of remorse; and (4) those statements suggest that Defendant might engage in

similar unlawful conduct in the future.    This conduct merits a custodial sentence, even though

Stotts did not personally strike the officers or destroy any property, and even though he promptly

accepted responsibility after charges were brought against him.

       The Court must also consider that Stotts’ conduct on January 6, like that of hundreds of

other defendants, took place in the context of a large and violent riot that relied on numbers to

overwhelm law enforcement officials, breach the Capitol, and disrupt the Congressional

proceedings. But for his actions alongside many others, the riot might not have succeeded in

substantially delaying the certification vote. Stotts’ eager participation in a riot that delayed the

Congressional certification vote for hours, combined with his celebration and endorsement of the

violence on that day, his lack of remorse, and the potential for future violence renders a sentence

of 45 days of incarceration both necessary and appropriate in this case.

II.    Factual and Procedural Background

       The January 6, 2021 Attack on the Capitol

       To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 20 (Statement of Offense) ¶¶ 1-7. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions—from the most mundane to the most violent—

contributed, directly and indirectly, to the violence and destruction of that day.

       Stotts’ Role in the January 6, 2021 Attack on the Capitol

       On January 4, 2021, Stotts drove alone from Arizona to Washington, D.C. See ECF 20

¶ 8. Starting at approximately 8:30 a.m., on January 6, he attended the rally for then-President



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Trump. Id. ¶ 9. At approximately 2:00 p.m., Stotts marched with other rally attendees to the

Capitol Building and climbed onto a balcony and chanted with the crowd. Id. ¶ 10. His scaling

of the Upper West Terrace wall, as captured by Associated Press photographer Jose Luis Magana

and published by numerous media outlets around the world, is one of the indelible images of

January 6.




       At approximately 2:45 p.m., he entered the Capitol Building. Id. ¶ 11. Once inside the

Capitol Building, Stotts walked around the inside lobby of the Rotunda doors chanting, raising his

fist, and pounding his chest as he watched rioters storm through the doors and push law

enforcement officers out of their way. Stotts is the person inside the red framing in the following

photographs.




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       Stotts also paraded around the Rotunda, using his cell phone to record photos and video,

and raising his fist in support of the crowd’s conduct.




       At approximately 3:02 p.m., officers from the Metropolitan Police Department entered the

Rotunda wearing riot gear and carrying batons. The officers worked together, standing shoulder

to shoulder, trying to force the rioters out of the Rotunda. The officers shouted commands,

directing the rioters to leave the Rotunda. If rioters got too close to the officers, the officers used

their batons to push them back.

       At approximately 3:07 p.m., Stotts made his way to the front of the crowd confronting the

officers. One officer’s body-worn camera recorded Stotts. The relevant portion of the video is

provided to the Court as Exhibit 1. In the video, Stotts is seen shouting at the officers, “O say,

does that star-spangled banner yet wave! O’er the land of the free and the home of the brave!”

One officer pushed Stotts back at least three times but Stotts remained where he was and stared

down the officers. He then shouted at the officers, “We’re here to take back our country for ya’ll!

All of us! All Americans! We’re on the same team! Same team!” Another rioter near Stotts can

be heard shouting, “Push! Push against them!”



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       By approximately 3:20 p.m., law enforcement officers finally cleared the Rotunda of the

rioters and escorted them out of the building. Stotts spent approximately one hour inside the

Capitol Building. Id. ¶ 12. He admitted he knew at the time he entered the Capitol Building that

he did not have permission to do so and that he entered the building with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress. Id. ¶ 14.

       Social Media Posts

       In the hours after Stotts left the Capitol Building, he posted several statements to his

Facebook account. One stated:

               For too long our voices have gone unheard! For too long our lives
               have been slowly taken! For too long has Satan ran this country!
               They attack our religious freedom, freedom of speech, and our
               freedom to do as we please! They work for us and have no right

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               telling us what we can and can’t do! I’m sick of it and so are the
               Patriots! With God on our side we will prevail!

A second post stated:

               The story of the siege: It all started by scaling a wall as we broke
               into the U.S. Capital to strike fear into the sold out Congress. We
               were tear gassed and 2 people were shot. We were peaceful but the
               police were not. Police were aggressive and on the wrong side!
               They got us out but it’s far from over! 1776!




       Stotts also posted a photograph of the Capitol Building to his Facebook page that bore the

caption, “Patriots! I got kicked out but I’ll be back!”




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       FBI Interview of Stotts

       Prior to Stotts’ arrest in March 2021, FBI agents interviewed Stotts. On January 18, 2021,

he gave a voluntary statement to the agents. During that interview, Stotts stated he was travelling

in Arizona when he decided he wanted to attend the January 6 rally. He had been a supporter of

then-President Trump and believed the President wanted supporters to come to Washington, D.C.

to support him. He stated that he drove his van from Arizona to Florida, then drove to Washington,

D.C., arriving on January 4. He stayed in his van overnight at a state park in Virginia, then attended

the rally in Freedom Plaza on January 6.

       Stotts stated that after the President finished speaking at approximately 1:00 or 2:00 p.m.,

he walked to the Capitol Building with other rally attendees. He claimed he did not see any law

enforcement officers when he arrived at the Capitol Building. He also claimed he entered the

building through a door on the west side of the building that was open. Stotts admitted that he

walked around the Rotunda. He also admitted that at one point the rioters were pushing up against

the officers in riot gear. He admitted that he remained on the Capitol grounds for a couple of

hours. He admittedly saw rioters throwing things at police officers and saw one rioter kick in an

exterior window to the Capitol Building. He stated that he exited the building in compliance with

the officers’ commands. At approximately 5:45 p.m., he returned to his van. During the interview,

Stotts told the agents that in retrospect, he knew he should not have gone into the Capitol Building.

        The Charges and Plea Agreement

       On March 16, 2021, the government charged Stotts by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and (2), and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On April 2, 2021, the government

charged Stotts in a four-count Information with the same crimes. On July 28, 2021, Stotts pleaded

guilty pursuant to a plea agreement to Count Four of the Information, charging him with a violation



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of 40 U.S.C. § 5104(e)(2)(G), Parading, Demonstrating, or Picketing in a Capitol Building. Stotts

agreed to pay $500 in restitution to the Department of the Treasury.

III.   Statutory Penalties

       Stotts faces sentencing on a single count of violating 40 U.S.C. § 5104(e)(2)(G). He faces

a maximum prison sentence of six months and a maximum fine of $5,000. 1 He must also pay

restitution pursuant to his plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson,

545 F.3d 1072, 1078-79 (D.C. Cir. 2008). As Stotts’ offense is a Class B Misdemeanor, the

Sentencing Guidelines do not apply. 18 U.S.C. § 3559; U.S.S.G. §1B1.9.

IV.    Sentencing Factors Under 18 U.S.C. § 3553(a)

       In this misdemeanor case, the Court must apply the sentencing factors set forth in 18 U.S.C.

§ 3553(a).    Some of those factors include: the nature and circumstances of the offense,

§ 3553(a)(1); the history and characteristics of the defendant, id.; the need for the sentence to

reflect the seriousness of the offense and promote respect for the law, § 3553(a)(2)(A); the need

for the sentence to afford adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted

sentence disparities among defendants with similar records who have been found guilty of similar

conduct, § 3553(a)(6). As explained herein, a reasonable balancing of the § 3553(a) factors weigh

in favor of a sentence of 45 days of incarceration.

       A.      The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6, 2021 was a crime unparalleled in American

history. It was only the second time in our history when the building was occupied by persons

hostile to the American government.




1
 Because the defendant has pled guilty to a petty offense, a term of supervised release is not
authorized. See 18 U.S.C. § 3583(b)(3).
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       While each defendant should be sentenced based on their individual conduct, every person

who unlawfully entered the Capitol Building on January 6 did so knowing—at a minimum—that

they crossed through numerous barriers and barricades bearing signs forbidding ingress and heard

the ructions of a mob. Depending on the timing and location of their approach, they also may have

observed extensive fighting with police officers and smelled chemical irritants wafting in the air.

No rioter was a mere tourist that day. See United States v. Matthew Mazzocco, 1:21-cr-00054

(TSC), Tr. 10/4/2021 at 25 (statement of Judge Chutkan “A mob isn’t a mob without the numbers.

The people who were committing those violent acts did so because they had the safety of

numbers.”).

       In fashioning an appropriate sentence, this Court should consider, inter alia,: (1) whether,

when, how Stotts entered the Capitol Building; (2) whether Stotts engaged in any violence or

encouraged violence; (3) whether Stotts engaged in any acts of destruction or encouraged

destruction; (4) Stott’s reaction to acts of violence or destruction committed by others; (5) whether,

during or after the riot, Stotts destroyed evidence; (6) the duration of Stotts’ time inside the

building, and exactly where he traveled; (7) Stott’s statements in person or on social media; (8)

whether Stotts cooperated with, or ignored, law enforcement officers at the scene of the riot; and

(9) whether Stotts has expressed sincere remorse for his conduct on January 6th. While these

factors are neither exhaustive nor dispositive, they are highly informative in determining a

defendant’s relative culpability vis-à-vis the other charged rioters.

       Stotts drove over 2,000 miles across the country, without assistance, to participate in the

January 6 riot at the Capitol. Once there, he scaled a wall to gain entry while a mob cheered for

him. Although Stotts implausibly claimed that he did not see any police officers outside of the

Capitol Building before entering, he admittedly saw them inside the building and cheered on the



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crowd as they stormed past the officers trying to block the Rotunda doors. Despite seeing this,

Stotts chose not to exit the building. Rather, he went back into the Rotunda. Most troubling, when

Metropolitan Police Department officers entered the Rotunda wearing riot gear and carrying

batons, Stotts ignored their commands to exit. Instead, he confronted the officers, shouted in their

faces, and stood his ground in the face of their orders to leave the Rotunda. Although that conduct

did not result in physical harm to the officers, it certainly created the risk of an escalation of the

confrontation that could have resulted in violence.

       Stotts’ statements on Facebook shortly after breaching the Capitol Building show a total

lack of remorse for his unlawful conduct. He proclaimed he was “sick of” those who were working

to uphold the result of the 2020 Presidential election and that his “side [would] prevail.” He

referred to the riot as “the siege,” and admitted entering into the Capitol “to strike fear into the

sold out Congress.” Stotts also claimed the “[p]olice were aggressive and on the wrong side!” and

announced, “They got us out but it’s far from over!” These statements raise concerns that Stotts

may intend to incite violence against “the wrong side” in the future.

       Although Stotts admitted during his interview that he wished he had someone with him to

talk him out of going into the building, his statements on January 6th expressed his belief at that

time that his conduct and the conduct of the other rioters was justified. The nature of Stotts’ offense

weigh in favor of a custodial sentence.

       B.      The History and Characteristics of the Defendant

       As set forth in the presentence report (“PSR,” ECF No. 23), this is hardly Stotts’ first

encounter with the criminal justice system. His most recent prior conviction, for driving with a

revoked license and being uninsured, was in 2014, for which he was sentenced to 20 days in jail.

PSR ¶ 32. In 2012, Stotts was sentenced to 90 days in jail (88 days suspended), after pleading



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guilty to disorderly conduct and obstruction. PSR ¶ 31. According to the PSR, police officers

were issuing citations for underage alcohol consumption when Stotts disrupted their duties. The

officers warned Stotts several times to back away from their patrol car and stand where directed.

Stotts ignored their instructions and became belligerent. See id. Although more than nine years

old, that behavior, also directed against law enforcement officers, bears resemblances to Stotts’

conduct inside the Rotunda on January 6.

       Stotts also has another conviction reflecting disrespect for the criminal justice system that

dates back to 2007, when he was 18 years old. He violated the terms of his probation for a prior

driving while impaired conviction and received a fourteen-day jail sentence in 2008. PSR ¶ 27.

In 2007, Stotts pleaded guilty to driving with a revoked license and possession of liquor by a person

under 21 and received a ten-day jail sentence. Id. ¶ 28. Stotts’ not insubstantial but dated criminal

history militates at least somewhat in favor of a custodial sentence. His prior probation violation

demonstrates his inability to comply with the terms of a probationary sentence, and his prior short

jail sentences show he has not been deterred from future criminal conduct.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the U.S. Capitol Building and Grounds was an attack on the rule of law. As

FBI Director Christopher Wray told the House Oversight and Reform Committee on June 15,

2021, “[t]he violence and destruction of property at the U.S. Capitol on January 6 showed a blatant

and appalling disregard for our institutions of government and the orderly administration of the

democratic process.” This factor supports a sentence of incarceration. The violence at the Capitol

on January 6 was intended by many if not most of the rioters to disrupt, and did substantially

disrupt, one of the most important democratic processes we have: the peaceful transfer of power.

As one member of this Court has explained:

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         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

United States v. Paul Hodgkins, 21-cr-188-RDM Tr. 7/19/2021 at 69-70 (statement of Judge Moss

during sentencing). The attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70.

         D.     The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. The gravity of these offenses demands

deterrence. This was not a lawful protest. See Hodgkins, Tr. 7/19/2021 at 46 (statement of Judge

Moss at sentencing: “I don’t think that any plausible argument can be made defending what

happened in the Capitol on January 6th as the exercise of First Amendment rights.”). The sentences

in these Capitol breach cases will convey to persons contemplating similar conduct in the future

that their actions will result in substantial adverse consequences. General deterrence, then, is

among the most important factors this Court should consider. See United States v. Thomas

Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have recognized,



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democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a manner that

delays the certification of the election, throws our entire system of government into disarray, and

it undermines the stability of our society. Future would-be rioters must be deterred.”) (statement

of Judge Nichols at sentencing).

       Specific Deterrence

       Stotts image scaling the walls of the Capitol Building was published by media outlets

around the world, demonstrating both the seriousness and symbolic power of his criminal acts.

Surveillance cameras captured Stotts inside the Capitol cheering on the crowd that broke through

the Rotunda doors and paraded through the Rotunda. In his Facebook posts, Stotts celebrated the

violence of January 6th and expressed his belief that the police, who acted throughout the riot as a

defensive force, were the aggressors on that day. Specifically, he referred to January 6th as “[t]he

story of the siege,” in which he played an active role by “scaling a wall” to “strike fear” into

Congress. Despite his conduct and the conduct of those around him in the Rotunda, where he

ignored the orders of the officers and stood his ground shouting at them, he claimed that the rioters

“were peaceful,” and the “[p]olice were aggressive and on the wrong side!”

       Stotts’ conduct on January 6, criminal history, and statements on social media demonstrate

the need for specific deterrence.

       E.      The Need to Avoid Unwarranted Sentencing Disparities

       As the Court knows, the government has charged hundreds of individuals for their roles in

the Capitol riots, ranging from unlawful entry misdemeanors to assault on law enforcement

officers, to conspiracy to corruptly interfere with Congress. Each offender must be sentenced based

on their individual circumstances, but with due regard that his conduct was part of the Capitol riot.

Moreover, each offender’s conduct can be placed on a scale of culpability, from that involving



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non-violent, non-destructive trespass without encouraging violence or destruction by others, to

conspiratorial crimes involving elaborate plans to commit acts of violence to prevent the

certification vote. The misdemeanor defendants will generally fall towards the lower end of that

scale, but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes, and a

probationary sentence should not become the default for those offenses. 2 “I don’t want to create

the impression that probation is the automatic outcome here because it’s not going to be.” United

States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19 (statement of Judge

Lamberth during sentencing); see also United States v. Valerie Ehrke, 1:21-cr-00097 (PFF), Tr.

9/17/2021 at 13 (statement of Judge Friedman at sentencing: “Judge Lamberth said something to

the effect . . . ‘I don’t want to create the impression that probation is the automatic outcome here,

because it’s not going to be. And I agree with that. Judge Hogan said something similar.”); United

States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21 at 3 (statement of Judge

Hogan at sentencing: “As to probation, I don't think anyone should start off in these cases with any

presumption of probation. I think the presumption should be that these offenses were an attack on

our democracy and that jail time is usually -- should be expected”).

       While the number of sentenced defendants is low, the judges of this District and the

government have acknowledged meaningful distinctions between offenders.                 Those who

committed felonies are generally more dangerous and deserve more substantial sentences of



2
   Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its prior agreement to recommend probation in these cases. Cf. United States v. Rosales-
Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities under 18
U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-track” program and those
who do not given the “benefits gained by the government when defendants plead guilty early in
criminal proceedings”) (citation omitted).
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incarceration. Those who trespassed, but engaged in aggravating behavior, merit serious

consideration of institutional incarceration. Those who trespassed, but engaged in less serious

aggravating behavior, deserve a sentence more in line with minor incarceration or home detention.

       After a review of the applicable Section 3553(a) factors, the government believes that

Stotts’ conduct falls in the second category. He drove over 2,000 miles to D.C. to participate in

the rally for then-President Trump. He scaled a significant wall and then followed the crowd into

the Capitol Building, cheered on those who were pushing past police officers, ignored their

commands, and shouted in their faces. He stayed in the Capitol Building for nearly an hour and

later celebrated the breach, referring to it as a “siege” to strike fear into Congress. Thus, Stotts

should not be compared to those who obtained a probationary sentence and should be sentenced

instead to 45 days of incarceration.




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V.     Conclusion

       Sentencing here requires that the Court carefully balance the various factors set forth in 18

U.S.C. § 3553(a). Some of those factors support a sentence of incarceration and some support a

more lenient sentence. Balancing these factors, the government recommends that this Court

sentence Jordan Stotts to 45 days of incarceration and $500 in restitution. Such a sentence protects

the community, promotes respect for the law, and deters future crime by imposing restrictions on

his liberty as a consequence of his behavior, while recognizing his early acceptance of

responsibility.

                                              Respectfully submitted,

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